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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION
                                  www.flmb.uscourts.gov

In re:                                                      Chapter 11, Subchapter V

POPPA-CONSTRUCTION, INC.,                                   Case No.: 2:22-bk-498-FMD
JORDAN POPPA-TURNER,                                        Case No.: 2:22-bk-497-FMD

         Debtors.                                           Jointly Administered under
                                             /              Case No.: 2:22-bk-498-FMD

POPPA-CONSTRUCTION, INC.,
JORDAN POPPA-TURNER,
GEORGE VUKOBRATOVICH,                                       Adv. Pro. No. ______

         Plaintiffs,

v.

PPF LRIII PORTFOLIO, LLC

         Defendant.
                                                    /

            COMPLAINT: (1) TO DETERMINE THE VALIDITY, PRIORITY,
         OR EXTENT OF LIENS OR OTHER INTERESTS IN PROPERTY; (2) FOR
          DECLARATORY RELIEF; AND (3) TO AVOID UNPERFECTED LIEN

         Poppa Construction, Inc. (“Poppa Construction”), Jordan Poppa-Turner (“Mr. Poppa”),

and George Vukobratovich (“Mr. Vuko,” together with Poppa Construction and Mr. Poppa, the

“Plaintiffs”), pursuant to Rules 7001(2) and (9) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) and 28 U.S.C. § 2201, hereby files its Complaint against PPF LRIII

Portfolio, LLC (“PPF”).
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                                         Nature of the Action

         1.       Plaintiffs bring this action pursuant to Bankruptcy Rule 7001, 7009, and 11 U.S.C.

§ 544 for a determination of the validity, priority, or extent of a lien or other interest in property

held by PPF; for declaratory relief; and to avoid any lien asserted by PPF.

                                       Jurisdiction and Venue

         2.       This adversary proceeding arises in and is related to the above-captioned

bankruptcy cases pending before this Court. This Court has jurisdiction over this adversary

proceeding pursuant to 28 U.S.C. §§ 157 and 1334.

         3.       The cause of action set forth herein involves the determination of the validity,

extent, or priority of liens and, as such, constitute “core” proceedings pursuant to 28 U.S.C. §

157(b)(2)(A), (B), (K), and (O).

         4.       Venue is based on 28 U.S.C. §§ 1408 and 1409.

                                                Parties

         5.       On May 5, 2022 (the “Petition Date”), the Plaintiffs each filed a Voluntary Petition

for Relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) and

an election to proceed under Subchapter V pursuant to the Small Business Reorganization Act of

2019, as amended. Poppa Construction and Mr. Poppa filed the above captioned cases, which are

jointly administered. Mr. Vuko’s bankruptcy case was assigned case number 2:22-bk-496-FMD.

         6.       PPF is a Florida limited liability company.

                                         General Allegations

         7.       On September 1, 2021, the state court in the Circuit Court of the Eleventh Circuit

in and for Miami-Dade County, Florida (the “State Court”) entered its Order of Final Judgment

(the “Judgment”) in favor of PPF and against Poppa Construction, Mr. Poppa, and Mr. Vuko in


                                                   2
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the case styled, If Six Were Nine, LLC v. Lincoln Road III, LLC et. al, case number 2016-006454-

CA-01 (the “State Court Litigation”). The Judgment is attached as Exhibit 1.

         8.       Thereafter, the Plaintiffs timely moved for rehearing on the Judgment, and on

May 2, 2022, the State Court denied the motion. Three days later, the Plaintiffs filed their notice

of appeal of the Judgment, which is now docketed as case number 3D22-0767 in Florida’s Third

District Court of Appeal. The Plaintiffs have filed a motion to lift the stay in the bankruptcy cases

to allow the appeal to proceed.

         9.       Notwithstanding the Plaintiffs’ Motion for Rehearing and in violation of Florida

Rule of Civil Procedure 1.550(a), which prohibits execution of a judgment while the court is

considering a motion for rehearing, PPF recorded the Judgment in the official records of Collier

County, Florida on January 19, 2022.

         10.      On March 8, 2022, PPF filed its Motion to Amend Final Judgment to Correct

Clerical Error (the “Amend Judgment Motion”) in the State Court Litigation, which is attached

as Exhibit 2. The Amend Judgment Motion sought to amend the Judgment in six ways, as set

forth in the Amend Judgment Motion:

                  a.     “The Original Judgment fails to itemize the Judgment Debtors by name (it

                         only states that Judgment Creditor ‘takes $5,665,864.87 as damages for the

                         breach of the Lease plus the $1,062,697 balance owed under the guaranty’).

                         The clerk of court will never issue a writ of execution in these

                         proceedings, until such time as the Judgment Plaintiffs are identified

                         by name in the body of the judgment. . . .”;




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                  b.     “The address of the Judgment Creditor is missing from the Original

                         Judgment, which is required for Judgment Creditor to possess a lien on

                         any real estate owned by the Judgment Debtors”;

                  c.     “The Original Judgment fails to include the phrase ‘for which let execution

                         issue.’ Without that language, the clerk understandably will not issue a

                         writ of execution, which will prevent the Judgment Creditor from

                         enforcement in aid of execution.”;

                  d.     “The Original Judgment omits reference to post-judgment interest

                         according to Fla. Stat. §55.03. Florida law provides for a judgment creditor

                         to obtain post-judgment interest in accordance with §55.03”;

                  e.     “The Original Judgment omits reference to pre-judgment interest, which

                         Judgment Creditor is entitled to against the Judgment Debtors from March

                         21, 2016 (the date Judgment Creditor sent its acceleration letter to Judgment

                         Plaintiffs)”; and

                  f.     “The Original Judgment fails to include language that the liability of

                         Judgment Debtors is joint and several. The lease and guaranty agreements

                         breached by Judgment Debtors clearly provide for joint and several liability

                         and the Original Judgment inadvertently omits this.”

Amend Judgment Motion ¶ 2 (emphasis added).

         11.      The Plaintiffs filed an objection to the Amend Judgment Motion, which is attached

as Exhibit 3 and incorporated herein by reference.




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                                               COUNT I
                              Determine Validity, Extent or Priority of Liens

           12.      The Plaintiffs incorporate each and every allegation contained in paragraphs 1

through 11 inclusive, as if fully set forth herein.

           13.      As set forth in Exhibit 3, the proposed amendments to the Judgment are not mere

“clerical errors” but rather are substantive modifications to the Judgment that (a) would

significantly increase the amounts owed on the Judgment, and (b) in PPF’s own words—would

allow PPF to perfect and execute upon its judgment lien on the Plaintiffs’ property.

           14.      PPF’s Amend Judgment Motion is untimely. Substantive amendments to judgments

are not permitted under Rule 1.540(a) of the Florida Rules of Civil Procedure.1 “Clerical mistakes

include ‘only errors or mistakes arising from an accidental slip or omission.’”2 “[T]he entry of a

judgment by a trial court containing a provision materially different from that which the court

announced at trial was a substantive error, not a ‘clerical’ mistake correctable under Rule

1.540(a).”3

           15.      An error that “affect[s] the substance of the judgment” or “the contents of the final

judgment” may only be brought under Rule 1.530.4 “[J]udicial errors, which include errors that

affect the substance of a judgment, must be corrected within [15] days after entry of the judgment

pursuant to Florida Rule of Civil Procedure 1.530.”5



1
    Gulfstream Micro Systems, Inc. v. Kingsbridge Boca Associates, 564 So.2d 554, 555 (Fla. 4th DCA 1990).
2
 Steele v. Brown, 197 So. 3d 106, 109 (Fla. 1st DCA 2016); Cornelius v. Holzman, 193 So. 3d 1029, 1032 (Fla. 4th
DCA 2016) (same).
3
    Frisard v. Frisard, 497 So.2d 885, 887 (Fla. 4th DCA 1986).
4
 Bolton v. Bolton, 787 So.2d 237, 239 (Fla. 2d DCA 2001); Thomas v. Cromer, 276 So.3d 69, 71 n.3 (Fla. 3d DCA
2019); L.B.G. Properties, Inc. v. Chisholm Realty Co., Inc., 522 So.2d 513, 514 (Fla. 4th DCA 1988);
5
    Bolton v. Bolton, 787 So.2d 237, 238-239 (Fla. 2d DCA 2001).

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           16.       Motions to amend substantive matters in a final judgment under Rule 1.530(g) must

be filed within 15 days of the original judgment.6 Upon expiration of the time allowed under Rule

1.530(g), the trial court losses its jurisdiction to correct the judgment.7

           17.       The inclusion of prejudgment interest and post-judgment interest are substantive

changes that significantly alter the content of the Judgment. Adding interest to the Judgment that

affects “the content of the final judgment” and the “substance of the judgment” is not a clerical

error or mistake under Rule 1.540.

           18.       Further, the language “for which let execution issue,” is substantive language in the

judgment that allows a judgment creditor to attach to property of the judgment debtors.8 Likewise,

the language “joint and several,” is substantive in nature.9 In Murphy v. Murphy, for example, the

Third DCA held that the lack of the “for which let execution issue” language in a money judgment

effectively grants a stay to a judgment creditor.10 Accordingly, because the Judgment does not

contain the language “for which let execution issue,” any lien arising from the Judgment is not

perfected.

           19.       PPF admits that, without the correction of the errors that are the subject of the

Amend Judgment Motion, “[t]he clerk of court will never issue a writ of execution in these

proceedings”; and modification of the Judgment “is required for Judgment Creditor to possess a

lien on any real estate owned by the Judgment Debtors”; and again “[w]ithout that language, the




6
    Fla. R. Civ. Proc. 1.530(g).
7
    Id. at 239.
8
    DuBreuil v. Regnvall, 527 So.2d 249, 249 (Fla. 3d DCA 1988).
9
    See ROSL, Inc. v. Des Jardins, 756 So.2d 1078, 1079 (Fla. 4th DCA 2000).
10
     Murphy v. Murphy, 378 So.2d 27, 28 (Fla. 3d DCA 1979).

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clerk understandably will not issue a writ of execution, which will prevent the Judgment Creditor

from enforcement in aid of execution.” See Exhibit 2.

         20.      As a matter of law, it is too late to correct the errors that are the subject of the

Amend Judgment Motion.

         21.      In addition, notwithstanding the Plaintiffs’ Motion for Rehearing and in violation

of Florida Rule of Civil Procedure 1.550(a), which prohibits execution of a judgment while the

court is considering a motion for rehearing, PPF recorded the Judgment in the official records of

Collier County, Florida on January 19, 2022. Accordingly, the recordation of the Judgment was

premature and violates the Florida Rules of Civil Procedure.

         22.      As of the Petition Date, PPF does not have a valid, perfected lien as to any of the

Plaintiffs’ assets.

         23.      To the extent that PPF asserts a lien against the Plaintiffs’ assets, such lien is

unperfected and subject to avoidance pursuant to Section 544(a)(1) of the Bankruptcy Code.

         24.      There is an actual controversy regarding the extent, validity, and priority of any lien

held by PPF as a result of the Judgment.

         WHEREFORE, the Plaintiffs respectfully request the Court to enter a judgment (i)

determining that PPF does not have a valid perfected lien on any of the Plaintiffs’ assets; or (ii)

avoiding for the benefit of the estates any unperfected lien(s); and (iii) for such other and further

relief as may be just.

                                             COUNT II
                                        Declaratory Judgment

         25.      The Plaintiffs incorporate each and every allegation contained in paragraphs 1

through 11 inclusive, as if fully set forth herein.



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           26.      There is an actual controversy regarding the extent, validity, and priority of any lien

held by PPF as a result of the Judgment.

           27.      As set forth in Exhibit 3, the proposed amendments to the Judgment are not mere

“clerical errors” but rather are substantive modifications to the Judgment that (a) would

significantly increase the amounts owed on the Judgment, and (b) in PPF’s own words—would

allow PPF to perfect and execute upon its judgment lien on the Plaintiffs’ property.

           28.      PPF’s Amend Judgment Motion is untimely. Substantive amendments to judgments

are not permitted under Rule 1.540(a) of the Florida Rules of Civil Procedure.11 “Clerical mistakes

include ‘only errors or mistakes arising from an accidental slip or omission.’”12 “[T]he entry of a

judgment by a trial court containing a provision materially different from that which the court

announced at trial was a substantive error, not a ‘clerical’ mistake correctable under Rule

1.540(a).”13

           29.      An error that “affect[s] the substance of the judgment” or “the contents of the final

judgment” may only be brought under Rule 1.530.14 “[J]udicial errors, which include errors that

affect the substance of a judgment, must be corrected within [15] days after entry of the judgment

pursuant to Florida Rule of Civil Procedure 1.530.”15




11
     Gulfstream Micro Systems, Inc. v. Kingsbridge Boca Associates, 564 So.2d 554, 555 (Fla. 4th DCA 1990).
12
 Steele v. Brown, 197 So. 3d 106, 109 (Fla. 1st DCA 2016); Cornelius v. Holzman, 193 So. 3d 1029, 1032 (Fla. 4th
DCA 2016) (same).
13
     Frisard v. Frisard, 497 So.2d 885, 887 (Fla. 4th DCA 1986).
14
  Bolton v. Bolton, 787 So.2d 237, 239 (Fla. 2d DCA 2001); Thomas v. Cromer, 276 So.3d 69, 71 n.3 (Fla. 3d DCA
2019); L.B.G. Properties, Inc. v. Chisholm Realty Co., Inc., 522 So.2d 513, 514 (Fla. 4th DCA 1988);
15
     Bolton v. Bolton, 787 So.2d 237, 238-239 (Fla. 2d DCA 2001).

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           30.       Motions to amend substantive matters in a final judgment under Rule 1.530(g) must

be filed within 15 days of the original judgment.16 Upon expiration of the time allowed under

Rule 1.530(g), the trial court losses its jurisdiction to correct the judgment.17

           31.       The inclusion of prejudgment interest and post-judgment interest are substantive

changes that significantly alter the content of the Judgment. Adding interest to the Judgment that

affects “the content of the final judgment” and the “substance of the judgment” is not a clerical

error or mistake under Rule 1.540.

           32.       Further, the language “for which let execution issue,” is substantive language in the

judgment that allows a judgment creditor to attach to property of the judgment debtors.18 Likewise,

the language “joint and several,” is substantive in nature.19 In Murphy v. Murphy, for example,

the Third DCA held that the lack of the “for which let execution issue” language in a money

judgment effectively grants a stay to a judgment creditor.20 Accordingly, because the Judgment

does not contain the language “for which let execution issue,” any lien arising from the Judgment

is not perfected.

           33.       PPF admits that, without the correction of the errors that are the subject of the

Amend Judgment Motion, “[t]he clerk of court will never issue a writ of execution in these

proceedings”; and modification of the Judgment “is required for Judgment Creditor to possess a

lien on any real estate owned by the Judgment Debtors”; and again “[w]ithout that language, the




16
     Fla. R. Civ. Proc. 1.530(g).
17
     Id. at 239.
18
     DuBreuil v. Regnvall, 527 So.2d 249, 249 (Fla. 3d DCA 1988).
19
     See ROSL, Inc. v. Des Jardins, 756 So.2d 1078, 1079 (Fla. 4th DCA 2000).
20
     Murphy v. Murphy, 378 So.2d 27, 28 (Fla. 3d DCA 1979).

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clerk understandably will not issue a writ of execution, which will prevent the Judgment Creditor

from enforcement in aid of execution.” See Exhibit 2.

         34.      As a matter of law, it is too late to correct the errors that are the subject of the

Amend Judgment Motion.

         35.      In addition, notwithstanding the Plaintiffs’ Motion for Rehearing and in violation

of Florida Rule of Civil Procedure 1.550(a), which prohibits execution of a judgment while the

court is considering a motion for rehearing, PPF recorded the Judgment in the official records of

Collier County, Florida on January 19, 2022. Accordingly, the recordation of the Judgment was

premature and violates the Florida Rules of Civil Procedure.

         36.      As of the Petition Date, PPF does not have a valid, perfected lien as to any of the

Plaintiffs’ assets.

         37.      To the extent that PPF asserts a lien against the Plaintiffs’ assets, such lien is

unperfected and subject to avoidance pursuant to Section 544(a)(1) of the Bankruptcy Code.

         38.      Allowing PPF to amend the Judgment as set forth in the Amend Judgment Motion

will substantially and economically harm Plaintiffs.

         WHEREFORE, the Plaintiffs respectfully request the Court to enter a judgment (i)

determining that PPF does not have a valid perfected lien on any of the Plaintiffs’ assets; or (ii)

avoiding for the benefit of the estates any unperfected lien(s); and (iii) for such other and further

relief as may be just.

                                            COUNT III
                                          Avoidance of Lien

         39.      The Plaintiffs incorporate each and every allegation contained in paragraphs 1

through 11 inclusive, as if fully set forth herein.



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           40.      As set forth in Exhibit 3, the proposed amendments to the Judgment are not mere

“clerical errors” but rather are substantive modifications to the Judgment that (a) would

significantly increase the amounts owed on the Judgment, and (b) in PPF’s own words—would

allow PPF to perfect and execute upon its judgment lien on the Plaintiffs’ property.

           41.      PPF’s Amend Judgment Motion is untimely. Substantive amendments to judgments

are not permitted under Rule 1.540(a) of the Florida Rules of Civil Procedure.21 “Clerical mistakes

include ‘only errors or mistakes arising from an accidental slip or omission.’”22 “[T]he entry of a

judgment by a trial court containing a provision materially different from that which the court

announced at trial was a substantive error, not a ‘clerical’ mistake correctable under Rule

1.540(a).”23

           42.      An error that “affect[s] the substance of the judgment” or “the contents of the final

judgment” may only be brought under Rule 1.530.24 “[J]udicial errors, which include errors that

affect the substance of a judgment, must be corrected within [15] days after entry of the judgment

pursuant to Florida Rule of Civil Procedure 1.530.”25




21
     Gulfstream Micro Systems, Inc. v. Kingsbridge Boca Associates, 564 So.2d 554, 555 (Fla. 4th DCA 1990).
22
 Steele v. Brown, 197 So. 3d 106, 109 (Fla. 1st DCA 2016); Cornelius v. Holzman, 193 So. 3d 1029, 1032 (Fla. 4th
DCA 2016) (same).
23
     Frisard v. Frisard, 497 So.2d 885, 887 (Fla. 4th DCA 1986).
24
  Bolton v. Bolton, 787 So.2d 237, 239 (Fla. 2d DCA 2001); Thomas v. Cromer, 276 So.3d 69, 71 n.3 (Fla. 3d DCA
2019); L.B.G. Properties, Inc. v. Chisholm Realty Co., Inc., 522 So.2d 513, 514 (Fla. 4th DCA 1988);
25
     Bolton v. Bolton, 787 So.2d 237, 238-239 (Fla. 2d DCA 2001).

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           43.       Motions to amend substantive matters in a final judgment under Rule 1.530(g) must

be filed within 15 days of the original judgment.26 Upon expiration of the time allowed under

Rule 1.530(g), the trial court losses its jurisdiction to correct the judgment.27

           44.       The inclusion of prejudgment interest and post-judgment interest are substantive

changes that significantly alter the content of the Judgment. Adding interest to the Judgment that

affects “the content of the final judgment” and the “substance of the judgment” is not a clerical

error or mistake under Rule 1.540.

           45.       Further, the language “for which let execution issue,” is substantive language in the

judgment that allows a judgment creditor to attach to property of the judgment debtors.28 Likewise,

the language “joint and several,” is substantive in nature.29 In Murphy v. Murphy, for example,

the Third DCA held that the lack of the “for which let execution issue” language in a money

judgment effectively grants a stay to a judgment creditor.30 Accordingly, because the Judgment

does not contain the language “for which let execution issue,” any lien arising from the Judgment

is not perfected.

           46.       PPF admits that, without the correction of the errors that are the subject of the

Amend Judgment Motion, “[t]he clerk of court will never issue a writ of execution in these

proceedings”; and modification of the Judgment “is required for Judgment Creditor to possess a

lien on any real estate owned by the Judgment Debtors”; and again “[w]ithout that language, the




26
     Fla. R. Civ. Proc. 1.530(g).
27
     Id. at 239.
28
     DuBreuil v. Regnvall, 527 So.2d 249, 249 (Fla. 3d DCA 1988).
29
     See ROSL, Inc. v. Des Jardins, 756 So.2d 1078, 1079 (Fla. 4th DCA 2000).
30
     Murphy v. Murphy, 378 So.2d 27, 28 (Fla. 3d DCA 1979).

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clerk understandably will not issue a writ of execution, which will prevent the Judgment Creditor

from enforcement in aid of execution.” See Exhibit 2.

         47.      As a matter of law, it is too late to correct the errors that are the subject of the

Amend Judgment Motion.

         48.      In addition, notwithstanding the Plaintiffs’ Motion for Rehearing and in violation

of Florida Rule of Civil Procedure 1.550(a), which prohibits execution of a judgment while the

court is considering a motion for rehearing, PPF recorded the Judgment in the official records of

Collier County, Florida on January 19, 2022. Accordingly, the recordation of the Judgment was

premature and violates the Florida Rules of Civil Procedure.

         49.      Pursuant to Section 544(a)(1) of the Bankruptcy Code, the Plaintiffs have the right

to avoid any obligation incurred by the Debtors that is voidable by the holder of a judicial lien.

         50.      To the extent that PPF asserts a lien against the Plaintiffs’ assets, such lien is

unperfected and subject to avoidance pursuant to Section 544(a)(1) of the Bankruptcy Code.

         WHEREFORE, the Plaintiffs respectfully request the Court to enter a judgment (i)

determining that PPF does not have a valid perfected lien on any of the Plaintiffs’ assets; or (ii)

avoiding for the benefit of the estates any unperfected lien(s); and (iii) for such other and further

relief as may be just.

         DATED: June 7, 2022
                                                        /s/ Edward J. Peterson
                                                        Edward J. Peterson (FBN 0014612)
                                                        Stichter Riedel Blain & Postler, P.A.
                                                        110 East Madison Street, Suite 200
                                                        Tampa, Florida 33602
                                                        Telephone: (813) 229-0144
                                                        Email: epeterson@srbp.com
                                                        Attorneys for Plaintiffs




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                         EXHIBIT 1
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         IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
         CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

         CASE NO: 2016-006454-CA-01
         SECTION: CA27
         JUDGE: Oscar Rodriguez-Fonts

         If Six Were Nine LLC
         Plaintiff(s)

         vs.

         Lincoln Road III LLC et al
         Defendant(s)
         ____________________________/

                                        ORDER OF FINAL JUDGMENT


                 THIS CAUSE having come before this Court for a non-jury trial occurring between

         April 5, 2021 and May 6, 2021, and after the Court having considered the evidence presented and

         heard the arguments of counsel and being otherwise advised on the premises, finds as follows,


                 Counts III and IV, alleging Fraud in the Inducement against Defendants Lincoln Road

         and Terranova are based on the failure to disclose the sale of the property where Plaintiff If Six

         Were Nine was a tenant. Plaintiff argues that by failing to disclose the sale, Defendants
         fraudulently induced Plaintiff into a lease that Plaintiff would not have gotten into had they

         known the effect the sale would have on the costs in the lease. The lease in question was a

         commercial lease, which is an important fact because Florida courts have held that in the context

         of fraud, even an intentional nondisclosure of known facts materially affecting the value of

         commercial property is not actionable under Florida law. Wasser v. Sasoni, 652 So. 2d 411

         (Fla. 3rd DCA 1995). Plaintiff cites to Florida Holding 4800, LLC v. Lauderhill Mall

         Investment, LLC, 317 So. 3d 121 (Fla. 4th DCA 2021) for the proposition that where the other

         party does not have an equal opportunity to become apprised of the fact (in this case the sale), an

         exception to caveat emptor exists. However, the record shows that no sale took place until July


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      24, 2014. See Joint Exhibit 35. This was after the lease was entered into by the parties, and up

      until that point in time, there was no sale to disclose. Further, even after the costs went up after

      the sale of the building, Mr. Vuko, Plaintiff’s representative, did not try to get out of the lease.

      This negates the claim that Plaintiff would not have gotten into the lease had they known of the

      sale because even after learning of the sale and its increase in costs, Plaintiff opted to stay in the

      lease. See Trial Tr. 99-100, Volume 4. Therefore, Plaintiff’s fraudulent inducement claim with

      respect to the non-disclosure of the sale fails.


              Plaintiff also argues that Defendants Lincoln Road and Terranova further misrepresented

      to Plaintiff that they would employ commercially reasonable efforts to minimize Building

      Expenses and that they failed to do so. However, Plaintiff’s representative, Mr. Vuko testified

      that when the amendment to the Lease was signed in April 2015, Plaintiff If Six were Nine knew

      that the property had sold and the building expenses had doubled. Trial Tr. 182. Volume 1.

      Furthermore, Article 5 of the Amended Lease states as follows: “Landlord shall use

      commercially reasonable efforts to minimize Building Expenses in a manner consistent with

      good business practices, and there shall be no duplication in charges to Tenant.” Article 5 thus

      covers the subject of commercially reasonable efforts to minimize expenses. Florida courts have

      held that a party cannot recover in fraud when the subject representation is adequately covered or

      expressly contradicted in a later written contract. See Mac-Gray Services, Inc. v. DeGeorge,

      913 So. 2d 630, 634 (Fla. 4th DCA 2005). Thus, Plaintiff’s fraudulent inducement claims with

      respect to the commercially reasonable efforts to keep expenses down also fails.


              Count V alleges Fraud against Terranova by arguing that Terranova intentionally inflated

      Building Expense estimates and real estate tax estimates in an effort to defraud the Plaintiff.

      Intentionally inflating building expense estimates and real estate estimates would breach Article

      5 of the Amended Lease which mandates the landlord to conduct commercially reasonable

      efforts to keep expenses down. Therefore, the fraud claim is essentially a breach of lease claim.



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      Plaintiff’s representative, Mr. Vuko was asked about the overcharges at trial and shown excerpts

      from his prior deposition. In page 379 of the deposition, Mr. Vuko Was asked the following

      questions:


             Q. “Is it correct that If Six Were Nine has not calculated any building expense

             overcharges under Count 1 of The Complaint for breach of Lease”


             A. I’m not sure. The lawyers probably were doing that. I wasn’t doing it.


             Q. Well, put aside whatever your lawyer has done or not done. If Six Were Nine

             has not done that calculation, isn’t that true?


             A. I don’t believe so.


             Trial Tr. 43-45, Volume 2.


              Thus, Plaintiff not having performed calculations to determine what amounts were

      overcharged and having failed to show what amounts were overcharged, cannot prevail on its

      claim that Terranova intentionally inflated expenses. The Fraud claim also fails because in order

      to state a claim for a tort that is independent of a claim for breach of contract, “the damages
      stemming from that [tort] must be independent, separate and distinct from the damages sustained

      from the contract's breach. Peebles v. Puig, 223 So. 3d 1065, 1068 (Fla. 3rd DCA 2017). Here,

      Plaintiff’s claim for fraud is based on the same underlying conduct giving rise to its breach of

      lease claim in Count I, namely, the alleged failure to keep expenses down in a commercially

      reasonable manner. As such, Count V fails.


             Counts I and II are for breach of the lease and the implied covenant of good faith and fair

      dealing. These counts are based on the alleged breach of Article 5 dealing with building

      expenses. Specifically, Plaintiff argues that Defendant PPF failed to use commercially reasonable



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      efforts to minimize the building expenses. It is worth noting that in his deposition, Mr. Vuko

      admitted to signing the letter of intent knowing there would be no dollar cap on the expenses.

      Trial Tr. 145-146, Volume 1. Furthermore, it is important to point out that Article 5 of the Lease

      explicitly states that costs are estimated but not guaranteed. Additionally, as previously stated,

      Mr. Vuko testified that when the amendment to the Lease was signed in April 2015, Plaintiff If

      Six were Nine knew that the property had sold and the building expenses had doubled. Trial Tr.

      182. Volume 1. Plaintiff was therefore on notice that costs had doubled, and it also knew that

      Article 5 of the Lease provided that the costs were only estimates, not guaranteed. Florida courts

      have held that “to constitute a vital or material breach a defendant's nonperformance must be

      such as to go to the essence of the contract; it must be the type of breach that would discharge the

      injured party from further contractual duty on his part.” Beefy Trail, Inc. v. Beefy King Intern.,

      Inc., 267 So. 2d 853, 857 (Fla. 4th DCA 1972). In the present matter, given that the Plaintiff

      knew that there would be no cap on expenses, and pursuant to the explicit language stating that

      the costs are only estimated but not guaranteed, it cannot be said that a foreseeable increase in

      prices would be a material breach as to discharge Plaintiff from its obligations to pay under the

      lease, especially when Plaintiff signed an amendment to the Lease with knowledge that the costs

      had doubled.


              Plaintiff also argues that Defendant breached the lease by charging an administrative fee.

      However, the language of Article 5 in the Amended Lease permitted Defendant PPF to include a

      10 percent administrative fee. Another argument Plaintiff brings in support of its breach of Lease

      argument is the fact that Defendant did not allow Plaintiff to audit the books and records

      regarding the building expenses. However, as Mr. Vuko admitted on cross-examination, under

      Article 5 of the Lease, the tenant must pay the disputed charges in order to audit the building

      expenses, something which Plaintiff did not do. Trial Tr. 42. Volume 2. As such, Defendant’s

      decision not to allow Plaintiff to audit the costs is not a breach. Finally, Plaintiff argues that there

      was a breach because Defendant the landlord did not provide a year-end statement to Plaintiff as


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      to actual building expenses incurred in 2014, however, the Lease does not contain such

      requirement, therefore there is no breach. Because no breach has been shown, Count I for Breach

      of the Lease fails. Count II also fails because, as a matter of law, there can be no cause of action

      for breach of the implied covenant absent a breach of an express term of the contract. See

      Flagship Report Development Corp. v. Interval Intern., Inc. 28 So. 3d 915, 924 (Fla. 3rd

      DCA 2010).


               Count VI is for Rescission of the Lease is based upon the same argument of

      misrepresentation of the building expenses and the failure to inform Plaintiff of the impending

      sale of the property. The record shows that Plaintiff entered into the Amended Lease in 2015

      after it was aware of the sale of the property and after it knew that the building expenses had

      doubled. Florida courts have held that “an action to cancel or rescind an agreement based on

      fraudulent inducement cannot be maintained where the agreement has been modified by the

      parties after the original fraud has been discovered.” Sunrise Farms, Inc. v. Wright, 376 So. 2d

      457 (Fla. 1st DCA 1979). Consequently, Count VI for rescission fails.


              Count VII is a claim for equitable accounting. Florida courts have held that equitable

      accounting is available “where the contract demands between litigants involve extensive or

      complicated accounts and it is not clear that the remedy at law is as full, adequate and

      expeditious as it is in equity” Chiron v. Isram Wholesale Tours and Travel Ltd., 519 So. 2d
      1102 (Fla. 3rd DCA 1998). The record shows that Plaintiff had an adequate remedy at law, that

      being the right to audit and inspect the books as provided in Article 5 of the Amended Lease.

      However, as previously seen, Plaintiff did not pay the disputed charges that were a condition

      precedent to conducting the audit. As such, Plaintiff cannot claim that there was no adequate

      remedy at law and therefore, Count VII for equitable accounting fails.


             Defendant has also filed several counterclaims in this case. The first counterclaim is for

      Breach of Lease and it alleges that Plaintiff breached the Lease by failing to pay all amounts due


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      and owing under the Lease. Defendant also alleges that Plaintiff breached the Lease by failing to

      replenish the Line of Credit as required by the Lease and by failing to complete the construction

      of the Improvements as required by the Construction Guaranty. The second, third and fourth

      count allege breach of the construction guaranty against Mr. Vuko, Poppa Construction and Mr.

      Poppa respectively. With respect to the construction guaranty, the trial testimony shows that Mr.

      Vuko admitted that performance was not tendered when asked about the performance on the

      construction guaranty. Specifically, Mr. Vuko was asked the following questions:


             Q. Can we agree, Mr. Vuko, that neither If Six Were Nine nor the three guarantors

             have tendered the dollars necessary to complete the build-out?


             A. Yes.


             Trial Tr. 47, Volume 2.


             Mr. Poppa was also asked about the money to complete the work after it was

             stopped. Mr. Poppa was asked the following question:


             Q. So, Poppa Construction did not tender the dollars to complete the work after it

             was stopped. Is that true?


             A. Correct.


             Trial Tr. 118, Volume 2.


             Plaintiff argues that Defendant PPF has not suffered any damages that are compensable

      under the specific language of the guaranty because no costs have been incurred and no

      obligations are due, which is what the guaranty requires. Plaintiff further argues that Defendant

      did not complete the improvements so there are no expenses for which they need to be made

      whole. The language of the guaranty is as follows:


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             Indemnitor hereby absolutely, primarily and irrevocably guarantees to Landlord:
             (a) the completion of the Improvements in accordance with the Plans and
             Specifications (and without substantial deviation therefrom unless approved in
             writing by Landlord) in a good and workmanlike manner on or before the
             Completion Deadline, free and clear of any liens, claims or encumbrances
             whatsoever; and (b) the payment of any and all costs of making, constructing and
             completing of the Improvements in accordance with the Plans and Specifications,
             including, without limitation, all permitting fees, licensing fees, amounts payable
             under construction contracts, subcontracts and supply contracts, amounts paid to
             architects, engineers and other design consultants and the costs of all labor,
             materials and equipment related thereto, to be paid and satisfied when due
             (collectively, the “Obligations”).

             (emphasis added)


             It is well settled that where a contract is clear and unambiguous, the parties are bound by

      the plain terms of their agreement. See, e.g., Crawford v. Barker, 64 So. 3d 1246, 1255 (Fla.

      2011); Rosenthal v. Rosenthal, 199 So. 3d 541, 542 (Fla. 1st DCA 2016). The plain language

      of the guaranty guarantees the completion of the Improvements. Plaintiff did not tender the

      money to complete the performance of the Improvements and as such, it is in breach of the

      guaranty.


              Section 5 of the Construction Guaranty states in pertinent part as follows: “Each

      Indemnitor is jointly and severally liable with any other Indemnitor hereunder and with any other

      guarantor for the full and timely payment and performance of all the Obligations.” The first

      paragraph of the Construction Guaranty states as follows:

             This Construction Completion Guaranty Agreement (this “Guaranty”) is made as
             of April 17 th , 2015 by George Vuko, Poppa Construction, Inc. a Florida
             Corporation, Jordan Poppa, (jointly and severally, “Guarantor”), and If Six Were
             Nine, LLC, a Florida limited liability company, (“Tenant” and, together with
             Guarantor, “Indemnitor”)) in favor of PPF LRIII Portfolio, LLC, a Florida limited
             liability company (“Landlord”).




             Having determined that the guaranty was breached, Defendant’s counterclaims II, III and


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      IV against Mr. Vuko, Poppa Construction and Poppa respectively prevail because each of these

      parties is jointly and severally liable under the guaranty. During trial, both Mr. Torre And Mr.

      Poppa testified as to the balance owing on the construction guaranty. Mr. Torre gave a figure of

      $1,062,679. See Trial Tr. 54, Day 3. Mr. Poppa on the other hand stated that the balance due

      was $1,038,000. See Trial Tr. 128, Day 2.


             Finally, with respect to Defendant’s counterclaim for beach of lease, the evidence shows

      that Plaintiff defaulted on the lease and was sent several notices of default. See Joint Exhibits

      12, 13, 15, 18, 20 and 25. Article 3, Section 1 of the Lease entered to in July 2014 states as

      follows: “Without previous demand therefor and without any setoff or deduction whatsoever,

      Tenant shall pay to Landlord Minimum Base Rent and other Rent due hereunder for the

      Premises.” Plaintiff’s multiple defaults are therefore a breach of the lease. Section 6 Of the

      Amended Lease, “Authorizations to Landlord,” allows the Landlord to: “Accelerate or otherwise

      change the time for payment of, change, amend, alter, cancel, compromise, or otherwise modify

      the terms of the lease, including increasing the rent thereunder agreed by the Tenant.”


              Defendant’s stipulated Exhibit 31, titled “Accelerated Rent Ledger,” contains the

      Defendant’s damage calculation for breach of lease. The damages are calculated to be

      $5,665,864.87, which is also the amount Defendant asked for damages at trial. Should the

      landlord relet the premises during the remainder of the lease term, any rental proceeds received
      by the landlord must be applied against the accelerated rent due from Plaintiff If Six were Nine.

      See Horizon Medical Group, P.A. v. City Center of Charlotte County, Ltd, 779 So. 2d 545,

      546 (Fla. 2nd DCA 2001) (holding that although the landlord City Center validly exercised its

      option to seek accelerated rent from Horizon, it could not collect accelerated rent from Horizon,

      relet the premises to a third party during the remainder of the lease term, and retain those rental

      proceeds as well but rather, any rental proceeds received by City Center from reletting the

      premises during the remainder of the lease term had to be applied against the accelerated rent due



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      from Horizon). This Court will reserve jurisdiction to consider a motion for an accounting should

      the Landlord relet the premises during the remainder of the lease term. See City Center of

      Charlotte County, Ltd, 779 So. 2d at 546.


             ORDERED and ADJUDGED that the Defendant PPF LRIII Portfolio, LLC takes

      $5,665,864.87 as damages for the breach of the Lease plus the $1,062,679 balance owed under

      the guaranty. The Court reserves jurisdiction as to court costs and attorney’s fees.

      DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 1st day of
      September, 2021.




                                                              2016-006454-CA-01 09-01-2021 2:58 PM
                                                                 Hon. Oscar Rodriguez-Fonts

                                                                  CIRCUIT COURT JUDGE
                                                                  Electronically Signed



        Final Order as to All Parties SRS #: 3 (Non-Jury Trial)

        THE COURT DISMISSES THIS CASE AGAINST ANY PARTY NOT LISTED IN THIS
        FINAL ORDER OR PREVIOUS ORDER(S). THIS CASE IS CLOSED AS TO ALL
        PARTIES.



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                         EXHIBIT 2
Filing # 145266702Case 2:22-ap-00026-FMD Doc 1 Filed 06/07/22 Page 26 of 45
                   E-Filed 03/08/2022 11:14:49 AM


                            IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
                            CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        IF SIX WERE NINE, LLC, a Florida
        limited liability company,

               Plaintiff,                                           CASE NO: 2016-006454-CA-01


        vs.

        LINCOLN ROAD III, LLC, a Florida
        limited liability company, PPF LRIII
        PORTFOLIO, LLC, a Florida limited
        liability company, TERRANOVA
        CORPORATION, a Florida corporation,
        and FLORIDA COMMUNITY BANK, N.A.,
        a national banking association,

               Defendants.
         ______________________________________/

        PPF LRIII PORTFOLIO, LLC, a Florida
        limited liability company,

               Counter-Plaintiff,

        vs.

        IF SIX WERE NINE, LLC, a Florida
        limited liability company, GEORGE
        VUKOBRATOVICH a/k/a GEORGE
        VUKO, an individual, POPPA
        CONSTRUCTION, INC., a Florida corporation,
        and JORDAN POPPA, an individual,

              Counter-Defendants.
        ____________________________________/

                             JUDGMENT CREDITOR’S MOTION TO
                    AMEND FINAL JUDGMENT TO CORRECT CLERICAL ERROR

                Judgment Creditor, PPF LRIII PORTFOLIO, LLC (“Judgment Creditor”), moves this

        Court pursuant to Florida Rule of Civil Procedure 1.540(a), to enter the attached Amended Order

        correcting a clerical error in its Order of Final Judgment (the “Original Judgment”):
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       1.     On September 1, 2021, the Court entered its Original Judgment.

       2.     The Original Judgment contains clerical errors, which will preclude the Clerk from

issuing a Writ of Execution when the time comes, and which will preclude Judgment Creditor

from properly enforcing the Original Judgment. Specifically, the final paragraph of the Original

Judgment inadvertently omits the following items:

              -   The Original Judgment fails to itemize the Judgment Debtors by name
                  (it only states that Judgment Creditor “takes $5,665,864.87 as damages
                  for the breach of the Lease plus the $1,062,697 balance owed under the
                  guaranty”). The clerk of court will never issue a writ of execution in
                  these proceedings, until such time as the Judgment Debtors are
                  identified by name in the body of the judgment. Although the substance
                  of the Original Judgment is clear – Judgment Creditor recovers
                  $5,665,864.87 against If Six Were Nine LLC for breach of lease, and
                  $1,062,679 against George Vukobratovich, Poppa Construction, Inc., a
                  Florida corporation, Jordan Poppa and If Six Were Nine, LLC for breach
                  of the Construction Completion Guaranty Agreement – the Original
                  Judgment does not specify the Judgment Debtors by name (further
                  confusing matters is that the style of the case generated by courtMAP
                  simply lists the parties in the style of the case as “et al” rather than the
                  full style of the case. Accordingly, even a cautious reader of the Original
                  Judgment would have difficulty identifying the allocation of damages
                  without reviewing the court record);

              -   The address of the Judgment Creditor is missing from the Original
                  Judgment, which is required for Judgment Creditor to possess a lien on
                  any real estate owned by the Judgment Debtors;

              -   The Original Judgment fails to include the phrase “for which let
                  execution issue.” Without that language, the clerk understandably will
                  not issue a writ of execution, which will prevent Judgment Creditor
                  from enforcement in aid of execution;

              -   The Original Judgment omits reference to post-judgment interest
                  according to Fla. Stat. §55.03. Florida law provides for a judgment
                  creditor to obtain post-judgment interest in accordance with §55.03;

              -   The Original Judgment omits reference to pre-judgment interest, which
                  Judgment Creditor is entitled to against the Judgment Debtors from
                  March 21, 2016 (the date Judgment Creditor sent its acceleration letter
                  to Judgment Debtors) [See Joint Trial Ex. 25] [DE 883] through entry
                  of judgment, September 1, 2021 [DE 972]. Regions Bank v. Maroone
                  Chevrolet, L.L.C., 118 So. 3d 251, 257 (3d DCA 2013) (prejudgment
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                    interest accrues from date money was due until date of judgment)
                    Berloni S.p.A. v. Della Casa, LLC, 972 So. 2d 1007 (4th DCA 2008)
                    (once a verdict liquidates damages as of a certain date, granting
                    prejudgment interest at the statutory rate from that date is merely a
                    ministerial act); 1

                -   The Original Judgment fails to include language that the liability of
                    Judgment Debtors is joint and several. The lease and guaranty
                    agreements breached by Judgment Debtors clearly provide for joint and
                    several liability and the Original Judgment inadvertently omits this.

        3.      Florida Statute 1.540(a) provides:

                Clerical mistakes in judgments, decrees, or other parts of the record and
                errors therein arising from oversight or omission may be corrected by the
                court at any time on its own initiative or on the motion of any party and after
                such notice, if any, as the court orders. During the pendency of an appeal
                such mistakes may be so corrected before the record on appeal is docketed
                in the appellate court, and thereafter while the appeal is pending may be so
                corrected with leave of the appellate court.

        4.      The above six omissions in the Original Judgment were the product of oversight

and omission that should be remedied through entry of an amended final judgment (nunc pro tunc

to the date of the Original Judgment). These omissions are unequivocally clerical in nature. While

the Judgment Debtors may dispute the Court’s ultimate ruling that Judgment Debtors breached the

lease and guaranty (as evidenced by their pending motion for rehearing of the Original Judgment),

it is undisputable that upon a finding in favor of Judgment Creditor (as was the case at trial here),

Judgment Creditor is entitled to have its final judgment properly entered.

        5.      Accordingly, Judgment Creditor requests that the Court enter the Amended

Judgment attached hereto as Exhibit “A.” The only requested amendments are to the final



1
  Pursuant to the lease agreement (Joint Trial Ex. 1, page 11, ¶19) [DE 859], upon the tenant’s failure to
pay any rent when due, “such sum shall bear interest at the rate of the greater of eighteen percent (18%) per
annum or the maximum percentage permitted by law…” Accordingly, Judgment Creditor’s request for the
far more modest pre-judgment statutory interest under Fla. Stat. §687.01 and §55.03, which was 4.75% per
annum on March 21, 2016 (the date Judgment Creditor sent its acceleration letter to Judgment Debtors),
should be granted without objection from the Judgment Debtors.
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paragraph of the Original Judgment. In all other respects, this proposed amended judgment mirrors

verbatim the Original Judgment.

          WHEREFORE, Judgment Creditor, PPF LRIII PORTFOLIO, LLC, requests the Court

enter the Amended Final Order for such other and further relief as the Court may deem just and

proper.


                                 CERTIFICATE OF SERVICE

          I CERTIFY that a copy of the foregoing Motion was served on the Florida courts e-portal
                                                8 2022, which will automatically transmit an
pursuant Fla. R. Jud. Admin. 2.516(b) on March ___,

electronic copy of same to counsel of record.


                                                LAW OFFICES OF PAUL A. HUMBERT, P.L.
                                                Counsel for Judgment Creditor,
                                                PPF LRIII Portfolio, LLC
                                                9655 S. Dixie Highway, Suite 119
                                                Miami, Florida 33156
                                                Tel. (305) 914-7862
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                                                Email. pa@pahumbertlaw.com

                                                By:   /s/ Paul A. Humbert
                                                        Paul A. Humbert, Esq.
                                                        Fla. Bar No. 0091166
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EXHIBIT “A”
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      IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
      CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

      CASE NO: 2016-006454-CA-01
      SECTION: CA27
      JUDGE: Oscar Rodriguez-Fonts

      If Six Were Nine LLC
      Plaintiff(s)

      vs.

      Lincoln Road III LLC et al
      Defendant(s)
                                          /

                                   AMENDED FINAL JUDGMENT
                              (Amended Nunc Pro Tunc to September 1, 2021)


              THIS CAUSE having come before this Court for a non-jury trial occurring between

      April 5, 2021 and May 6, 2021, and after the Court having considered the evidence presented and
      heard the arguments of counsel and being otherwise advised on the premises, finds as follows,


              Counts III and IV, alleging Fraud in the Inducement against Defendants Lincoln Road and
      Terranova are based on the failure to disclose the sale of the property where Plaintiff If Six Were

      Nine was a tenant. Plaintiff argues that by failing to disclose the sale, Defendants fraudulently

      induced Plaintiff into a lease that Plaintiff would not have gotten into had they known the effect

      the sale would have on the costs in the lease. The lease in question was a commercial lease, which

      is an important fact because Florida courts have held that in the context of fraud, even an intentional
      nondisclosure of known facts materially affecting the value of commercial property is not

      actionable under Florida law. Wasser v. Sasoni, 652 So. 2d 411 (Fla. 3rd DCA 1995). Plaintiff

      cites to Florida Holding 4800, LLC v. Lauderhill Mall Investment, LLC, 317 So. 3d 121 (Fla. 4th

      DCA 2021) for the proposition that where the other party does not have an equal opportunity to

      become apprised of the fact (in this case the sale), an exception to caveat emptor exists. However,
      the record shows that no sale took place until July



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      24, 2014. See Joint Exhibit 35. This was after the lease was entered into by the parties, and up

      until that point in time, there was no sale to disclose. Further, even after the costs went up after the

      sale of the building, Mr. Vuko, Plaintiff’s representative, did not try to get out of the lease. This

      negates the claim that Plaintiff would not have gotten into the lease had they known of the sale

      because even after learning of the sale and its increase in costs, Plaintiff opted to stay in the lease.

      See Trial Tr. 99-100, Volume 4. Therefore, Plaintiff’s fraudulent inducement claim with respect
      to the non-disclosure of the sale fails.


              Plaintiff also argues that Defendants Lincoln Road and Terranova further misrepresented

      to Plaintiff that they would employ commercially reasonable efforts to minimize Building
      Expenses and that they failed to do so. However, Plaintiff’s representative, Mr. Vuko testified

      that when the amendment to the Lease was signed in April 2015, Plaintiff If Six were Nine knew

      that the property had sold and the building expenses had doubled. Trial Tr. 182. Volume 1.

      Furthermore, Article 5 of the Amended Lease states as follows: “Landlord shall use

      commercially reasonable efforts to minimize Building Expenses in a manner consistent with
      good business practices, and there shall be no duplication in charges to Tenant.” Article 5 thus

      covers the subject of commercially reasonable efforts to minimize expenses. Florida courts have

      held that a party cannot recover in fraud when the subject representation is adequately covered or

      expressly contradicted in a later written contract. See Mac-Gray Services, Inc. v. DeGeorge, 913

      So. 2d 630, 634 (Fla. 4th DCA 2005). Thus, Plaintiff’s fraudulent inducement claims with respect
      to the commercially reasonable efforts to keep expenses down also fails.


              Count V alleges Fraud against Terranova by arguing that Terranova intentionally inflated

      Building Expense estimates and real estate tax estimates in an effort to defraud the Plaintiff.

      Intentionally inflating building expense estimates and real estate estimates would breach Article

      5 of the Amended Lease which mandates the landlord to conduct commercially reasonable

      efforts to keep expenses down. Therefore, the fraud claim is essentially a breach of lease claim.



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      Plaintiff’s representative, Mr. Vuko was asked about the overcharges at trial and shown excerpts
      from his prior deposition. In page 379 of the deposition, Mr. Vuko Was asked the following

      questions:


             Q. “Is it correct that If Six Were Nine has not calculated any building expense

             overcharges under Count 1 of The Complaint for breach of Lease”


             A. I’m not sure. The lawyers probably were doing that. I wasn’t doing it.


             Q. Well, put aside whatever your lawyer has done or not done. If Six Were Nine

             has not done that calculation, isn’t that true?


             A. I don’t believe so.


             Trial Tr. 43-45, Volume 2.


              Thus, Plaintiff not having performed calculations to determine what amounts were

      overcharged and having failed to show what amounts were overcharged, cannot prevail on its claim
      that Terranova intentionally inflated expenses. The Fraud claim also fails because in order to state

      a claim for a tort that is independent of a claim for breach of contract, “the damages stemming

      from that [tort] must be independent, separate and distinct from the damages sustained from the

      contract's breach. Peebles v. Puig, 223 So. 3d 1065, 1068 (Fla. 3rd DCA 2017). Here, Plaintiff’s
      claim for fraud is based on the same underlying conduct giving rise to its breach of lease claim in

      Count I, namely, the alleged failure to keep expenses down in a commercially reasonable manner.

      As such, Count V fails.


             Counts I and II are for breach of the lease and the implied covenant of good faith and fair

      dealing. These counts are based on the alleged breach of Article 5 dealing with building expenses.

      Specifically, Plaintiff argues that Defendant PPF failed to use commercially reasonable



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      efforts to minimize the building expenses. It is worth noting that in his deposition, Mr. Vuko
      admitted to signing the letter of intent knowing there would be no dollar cap on the expenses. Trial

      Tr. 145-146, Volume 1. Furthermore, it is important to point out that Article 5 of the Lease

      explicitly states that costs are estimated but not guaranteed. Additionally, as previously stated, Mr.

      Vuko testified that when the amendment to the Lease was signed in April 2015, Plaintiff If Six
      were Nine knew that the property had sold and the building expenses had doubled. Trial Tr.

      182. Volume 1. Plaintiff was therefore on notice that costs had doubled, and it also knew that

      Article 5 of the Lease provided that the costs were only estimates, not guaranteed. Florida courts
      have held that “to constitute a vital or material breach a defendant's nonperformance must be

      such as to go to the essence of the contract; it must be the type of breach that would discharge the

      injured party from further contractual duty on his part.” Beefy Trail, Inc. v. Beefy King Intern.,

      Inc., 267 So. 2d 853, 857 (Fla. 4th DCA 1972). In the present matter, given that the Plaintiff
      knew that there would be no cap on expenses, and pursuant to the explicit language stating that the

      costs are only estimated but not guaranteed, it cannot be said that a foreseeable increase in prices
      would be a material breach as to discharge Plaintiff from its obligations to pay under the lease,

      especially when Plaintiff signed an amendment to the Lease with knowledge that the costs had

      doubled.


              Plaintiff also argues that Defendant breached the lease by charging an administrative fee.

      However, the language of Article 5 in the Amended Lease permitted Defendant PPF to include a

      10 percent administrative fee. Another argument Plaintiff brings in support of its breach of Lease
      argument is the fact that Defendant did not allow Plaintiff to audit the books and records regarding

      the building expenses. However, as Mr. Vuko admitted on cross-examination, under Article 5 of

      the Lease, the tenant must pay the disputed charges in order to audit the building expenses,

      something which Plaintiff did not do. Trial Tr. 42. Volume 2. As such, Defendant’s decision not

      to allow Plaintiff to audit the costs is not a breach. Finally, Plaintiff argues that therewas a breach
      because Defendant the landlord did not provide a year-end statement to Plaintiff as



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      to actual building expenses incurred in 2014, however, the Lease does not contain such
      requirement, therefore there is no breach. Because no breach has been shown, Count I for Breach

      of the Lease fails. Count II also fails because, as a matter of law, there can be no cause of action

      for breach of the implied covenant absent a breach of an express term of the contract. See Flagship

      Report Development Corp. v. Interval Intern., Inc. 28 So. 3d 915, 924 (Fla. 3rd DCA 2010).


               Count VI is for Rescission of the Lease is based upon the same argument of
      misrepresentation of the building expenses and the failure to inform Plaintiff of the impending sale

      of the property. The record shows that Plaintiff entered into the Amended Lease in 2015after
      it was aware of the sale of the property and after it knew that the building expenses had doubled.

      Florida courts have held that “an action to cancel or rescind an agreement based on fraudulent

      inducement cannot be maintained where the agreement has been modified by the parties after the
      original fraud has been discovered.” Sunrise Farms, Inc. v. Wright, 376 So. 2d457 (Fla. 1st DCA

      1979). Consequently, Count VI for rescission fails.


              Count VII is a claim for equitable accounting. Florida courts have held that equitable
      accounting is available “where the contract demands between litigants involve extensive or

      complicated accounts and it is not clear that the remedy at law is as full, adequate and expeditious

      as it is in equity” Chiron v. Isram Wholesale Tours and Travel Ltd., 519 So. 2d 1102 (Fla. 3rd

      DCA 1998). The record shows that Plaintiff had an adequate remedy at law, that being the right to
      audit and inspect the books as provided in Article 5 of the Amended Lease. However, as previously
      seen, Plaintiff did not pay the disputed charges that were a condition precedent to conducting the

      audit. As such, Plaintiff cannot claim that there was no adequate remedy at law and therefore,

      Count VII for equitable accounting fails.


             Defendant has also filed several counterclaims in this case. The first counterclaim is for

      Breach of Lease and it alleges that Plaintiff breached the Lease by failing to pay all amounts due




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      and owing under the Lease. Defendant also alleges that Plaintiff breached the Lease by failing to
      replenish the Line of Credit as required by the Lease and by failing to complete the construction

      of the Improvements as required by the Construction Guaranty. The second, third and fourth count

      allege breach of the construction guaranty against Mr. Vuko, Poppa Construction and Mr. Poppa

      respectively. With respect to the construction guaranty, the trial testimony shows that Mr. Vuko
      admitted that performance was not tendered when asked about the performance on the construction

      guaranty. Specifically, Mr. Vuko was asked the following questions:


             Q. Can we agree, Mr. Vuko, that neither If Six Were Nine nor the three guarantors

             have tendered the dollars necessary to complete the build-out?


             A. Yes.


             Trial Tr. 47, Volume 2.


             Mr. Poppa was also asked about the money to complete the work after it was

             stopped. Mr. Poppa was asked the following question:


             Q. So, Poppa Construction did not tender the dollars to complete the work after it
             was stopped. Is that true?


             A. Correct.


             Trial Tr. 118, Volume 2.


             Plaintiff argues that Defendant PPF has not suffered any damages that are compensable

      under the specific language of the guaranty because no costs have been incurred and no obligations

      are due, which is what the guaranty requires. Plaintiff further argues that Defendant did not

      complete the improvements so there are no expenses for which they need to be made whole. The

      language of the guaranty is as follows:


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             Indemnitor hereby absolutely, primarily and irrevocably guarantees to Landlord:
             (a) the completion of the Improvements in accordance with the Plans and
             Specifications (and without substantial deviation therefrom unless approved in
             writing by Landlord) in a good and workmanlike manner on or before the
             Completion Deadline, free and clear of any liens, claims or encumbrances
             whatsoever; and (b) the payment of any and all costs of making, constructing and
             completing of the Improvements in accordance with the Plans and Specifications,
             including, without limitation, all permitting fees, licensing fees, amounts payable
             under construction contracts, subcontracts and supply contracts, amounts paid to
             architects, engineers and other design consultants and the costs of all labor,
             materials and equipment related thereto, to be paid and satisfied when due
             (collectively, the “Obligations”).

             (emphasis added)


             It is well settled that where a contract is clear and unambiguous, the parties are bound by

      the plain terms of their agreement. See, e.g., Crawford v. Barker, 64 So. 3d 1246, 1255 (Fla. 2011);

      Rosenthal v. Rosenthal, 199 So. 3d 541, 542 (Fla. 1st DCA 2016). The plain language of the
      guaranty guarantees the completion of the Improvements. Plaintiff did not tender the money to

      complete the performance of the Improvements and as such, it is in breach of the guaranty.


              Section 5 of the Construction Guaranty states in pertinent part as follows: “Each

      Indemnitor is jointly and severally liable with any other Indemnitor hereunder and with any other

      guarantor for the full and timely payment and performance of all the Obligations.” The first

      paragraph of the Construction Guaranty states as follows:

             This Construction Completion Guaranty Agreement (this “Guaranty”) is made as
             of April 17th, 2015 by George Vuko, Poppa Construction, Inc. a Florida
             Corporation, Jordan Poppa, (jointly and severally, “Guarantor”), and If Six Were
             Nine, LLC, a Florida limited liability company, (“Tenant” and, together with
             Guarantor, “Indemnitor”)) in favor of PPF LRIII Portfolio, LLC, a Florida limited
             liability company (“Landlord”).




             Having determined that the guaranty was breached, Defendant’s counterclaims II, III and




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      IV against Mr. Vuko, Poppa Construction and Poppa respectively prevail because each of these
      parties is jointly and severally liable under the guaranty. During trial, both Mr. Torre And Mr.

      Poppa testified as to the balance owing on the construction guaranty. Mr. Torre gave a figure of

      $1,062,679. See Trial Tr. 54, Day 3. Mr. Poppa on the other hand stated that the balance due
      was $1,038,000. See Trial Tr. 128, Day 2.


              Finally, with respect to Defendant’s counterclaim for beach of lease, the evidence shows

      that Plaintiff defaulted on the lease and was sent several notices of default. See Joint Exhibits
      12, 13, 15, 18, 20 and 25. Article 3, Section 1 of the Lease entered to in July 2014 states as follows:

      “Without previous demand therefor and without any setoff or deduction whatsoever, Tenant shall

      pay to Landlord Minimum Base Rent and other Rent due hereunder for the Premises.” Plaintiff’s

      multiple defaults are therefore a breach of the lease. Section 6 Of the Amended Lease,
      “Authorizations to Landlord,” allows the Landlord to: “Accelerate or otherwise change the time

      for payment of, change, amend, alter, cancel, compromise, or otherwise modify the terms of the

      lease, including increasing the rent thereunder agreed by the Tenant.”


               Defendant’s stipulated Exhibit 31, titled “Accelerated Rent Ledger,” contains the

      Defendant’s damage calculation for breach of lease. The damages are calculated to be
      $5,665,864.87, which is also the amount Defendant asked for damages at trial. Should the landlord
      relet the premises during the remainder of the lease term, any rental proceeds received by the

      landlord must be applied against the accelerated rent due from Plaintiff If Six were Nine. See

      Horizon Medical Group, P.A. v. City Center of Charlotte County, Ltd, 779 So. 2d 545, 546 (Fla.

      2nd DCA 2001) (holding that although the landlord City Center validly exercised its option to seek
      accelerated rent from Horizon, it could not collect accelerated rent from Horizon, relet the premises

      to a third party during the remainder of the lease term, and retain those rental proceeds as well but

      rather, any rental proceeds received by City Center from reletting the premises during the

      remainder of the lease term had to be applied against the accelerated rent due



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      from Horizon). This Court will reserve jurisdiction to consider a motion for an accounting should
      the Landlord relet the premises during the remainder of the lease term. See City Center of Charlotte
      County, Ltd, 779 So. 2d at 546.

                ORDERED and ADJUDGED that the Defendant/Counter-Plaintiff, PPF LRIII
      Portfolio, LLC, 801 Arthur Godfrey Road, Ste 600, Miami Beach, FL 33140, takes $5,665,864.87
      as damages for breach of the Lease against Plaintiff/Counter-Defendant, If Six Were Nine, LLC,
      plus pre-judgment interest at the statutory rate of 4.75% per annum on March 21, 2016 (the date
      the acceleration and default notice was sent by PPF LRIII Portfolio, LLC) through September 1,
      2021 of $1,467,303.77, for a grand total through September 1, 2021 of $7,133,168.64, which shall
      accrue interest at the post-judgment statutory rate pursuant to Fla. Stat. §55.03 from September 1,
      2021 (and thereafter adjust on January 1 of each successive year pursuant to §55.03), for which let
      execution issue.
                PPF LRIII Portfolio, LLC shall also recover the sum of $1,062,679.00, representing the
      damages for breach of the construction completion guaranty agreement, from Counter-Defendants,
      George Vukobratovich a/k/a George Vuko, Poppa Construction, Inc., Jordan Poppa, and If Six
      Were Nine, LLC, plus pre-judgment interest at the statutory rate of 4.75% per annum on March
      21, 2016 (the date the acceleration and default notice was sent by PPF LRIII Portfolio, LLC)
      through September 1, 2021 of $275,204.74, for a grand total through September 1, 2021 of
      $1,337,883.74, jointly and severally, which shall accrue interest at the post-judgment statutory rate
      pursuant to Fla. Stat. §55.03 from September 1, 2021 (and thereafter adjust on January 1 of each
      successive year pursuant to §55.03), for which let execution issue.
                 The Court reserves jurisdiction as to court costs and attorney’s fees.




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                    IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                            IN AND FOR MIAMI-DADE COUNTY, FLORIDA
                                         CIVIL DIVISION

        IF SIX WERE NINE, LLC.,

               Plaintiff,

        v.                                                    CASE NO:      2016-CA-6454

        LINCOLN ROAD III, LLC,
        PPF LRIII PORTFOLIO, LLC.,
        TERRANOVA CORPORATION, and
        FLORIDA COMMUNITY BANK, N.A.,

               Defendants.
                                                        /

        PPF LRIII PORTFOLIO, LLC, a Florida

               Counter-Plaintiff,

        v.

        IF SIX WERE NINE, LLC.,
        GEORGE VUKOBRATOVICH
        a/k/a GEORGE VUKO,
        POPPA CONSTRUCTION, INC., and
        JORDAN POPPA,

              Counter-Defendants.
        _________________________________________/

                                OBJECTION AND RESPONSE
                            TO JUDGMENT CREDITOR’S MOTION
                  TO AMEND FINAL JUDGMENT TO CORRECT CLERICAL ERROR

               George Vukobratovich a/k/a George Vuko, Poppa Construction, Inc., and Jordan Poppa

        (the “Counter-Defendants”), object to Motion to Amend Final Judgment to Correct Clerical

        Error (the “Motion to Amend the Judgment”) filed by PPF LRIII Portfolio, LLC (“PPF”), and

        as grounds, state the following:
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       1.      PPF improperly seeks to substantively amend the Order of Final Judgment—under

the guise of what PPF calls “clerical” errors. Among other proposed changes, PPF seeks to add

prejudgment interest, post-judgment interest, “for which let execution issue” language; and “joint

and several” language. These proposed changes to the Final Judgment are substantive changes

that are not permitted under Florida Rule of Civil Procedure 1.510(a).

                                          Background

       2.      On September 1, 2021, this Court entered its Order of Final Judgment (Doc. No.

972) (the “Final Judgment”).

       3.      Six months later—on March 8, 2022—PPF filed its Motion to Amend the Judgment

in which PPF requests six amendments to the Final Judgment.

       4.      The Motion to Amend the Judgment attaches a proposed amended final judgment

(the “Proposed Amended Final Judgment”).

                                           Argument

       5.      PPF should not be allowed to shoehorn in its desired substantive rewrites to the

Order of Final Judgment through the artifice of a correcting “clerical errors.” Amending the Final

Judgment to include prejudgment interest; post-judgment interest; the language, “for which let

execution issue”; and the language, “joint and several” are all substantive changes to the Final

Judgment that is not appropriate under Rule 1.540(a).

       6.      Substantive amendments to judgments are not permitted under Rule 1.540(a) of the

Florida Rules of Civil Procedure.1 “Clerical mistakes include ‘only errors or mistakes arising from




1
 Gulfstream Micro Systems, Inc. v. Kingsbridge Boca Associates, 564 So.2d 554, 555 (Fla. 4th
DCA 1990).



                                                2
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an accidental slip or omission.’”2 “[T]he entry of a judgment by a trial court containing a provision

materially different from that which the court announced at trial was a substantive error, not a

‘clerical’ mistake correctable under Rule 1.540(a).” 3

          7.      An error that “affect[s] the substance of the judgment” or “the contents of the final

judgment” may only be brought under Rule 1.530.4 “[J]udicial errors, which include errors that

affect the substance of a judgment, must be corrected within [15] days after entry of the judgment

pursuant to Florida Rule of Civil Procedure 1.530.”5 A claim that the trial court failed to rule on

defenses presented at trial “may be valid ground for relief under rule 1.530,” but it is not the type

of error that may be corrected under Rule 1.540. 6 In Frisard, the Fourth District Court of Appeal

reversed a trial court’s amendment of final judgment because the reservation of jurisdiction and

attorneys’ fees provision were substantive changes that could not be modified under Rule 1.540(a).

          8.      Motions to amend substantive matters in a final judgment under Rule 1.530(g) must

be filed within 15 days of the original judgment. 7 Upon expiration of the time allowed under Rule

1.530(g), the trial court losses its jurisdiction to correct the judgment. 8



2
 Steele v. Brown, 197 So. 3d 106, 109 (Fla. 1st DCA 2016); Cornelius v. Holzman, 193 So. 3d
1029, 1032 (Fla. 4th DCA 2016) (same).
3
    Frisard v. Frisard, 497 So.2d 885, 887 (Fla. 4th DCA 1986).
4
 Bolton v. Bolton, 787 So.2d 237, 239 (Fla. 2d DCA 2001); Thomas v. Cromer, 276 So.3d 69, 71
n.3 (Fla. 3d DCA 2019); L.B.G. Properties, Inc. v. Chisholm Realty Co., Inc., 522 So.2d 513, 514
(Fla. 4th DCA 1988);
5
    Bolton v. Bolton, 787 So.2d 237, 238-239 (Fla. 2d DCA 2001).
6
    Commonwealth Land Title Ins. Co. v. Freeman, 884 So. 2d 164, 168 (Fla. 2d DCA 2004).
7
    Fla. R. Civ. Proc. 1.530(g).
8
    Id. at 239.



                                                    3
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         9.      Here, this Court cannot amend the judgment under Rule 1.540. The inclusion of

prejudgment interest and post-judgment interest are substantive changes that significantly alter the

content of the judgment. Adding interest to the Final Judgment that affects “the content of the

final judgment” and the “substance of the judgment” is not a clerical error or mistake under Rule

1.540.

         10.     Further, the language “for which let execution issue,” is substantive language in the

judgment that allows a judgment creditor to attach to property of the judgment debtors. 9 Likewise,

the language “joint and several,” is substantive in nature. 10 In Murphy v. Murphy, for example,

the Third DCA held that the lack of this language in a money judgment effectively grants a stay to

a judgment creditor.11 While the failure to include certain language in the Final Judgment may be

an error, it is not a clerical error that can be remedied under Rule 1.540(a).

                                             Conclusion

         11.     By its Motion to Amend the Judgment, PPF attempts to categorize substantive

changes to the Final Judgment under the guise of “clerical errors.” However, seeking to amend

the Final Judgment to include prejudgment interest, post-judgment interest, and include language

for “joint and several” and “for which let execution issue” are not clerical errors under Rule

1.540(a), but substantive changes that can only be brought under Rule 1.530(g). The instant

motion, because it affects the substance of the Final Judgment entered on September 1, 2021—six

months ago—is now untimely. Therefore, the Motion to Amend the Judgment must be denied.




9
    DuBreuil v. Regnvall, 527 So.2d 249, 249 (Fla. 3d DCA 1988).
10
     See ROSL, Inc. v. Des Jardins, 756 So.2d 1078, 1079 (Fla. 4th DCA 2000).
11
     Murphy v. Murphy, 378 So.2d 27, 28 (Fla. 3d DCA 1979).



                                                   4
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       WHEREFORE, Counter-Defendants request that the Court enter an order (a) sustaining

this Objection, (b) denying the Motion to Amend the Final Judgment, and (c) grant such further

relief as this Court deems necessary and just.

                                                      /s/ Mark F. Robens
                                                      Edward J. Peterson (FBN 14612)
                                                      Mark F. Robens (FBN 108910)
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                                                      Counsel for Counter-Defendants George
                                                      Vukobratovich a/k/a George Vuko, Poppa
                                                      Construction, Inc., and Jordan Poppa


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 4, 2022, the foregoing was electronically transmitted
to the Clerk of Court via the Florida Courts E-Filing Portal for filing, and was served on all parties
receiving electronic noticing, and to:

Paul A. Humbert, Esq.
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                                                      /s/ Mark F. Robens
                                                      Mark F. Robens




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